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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA
                                                         DECISION AND ORDER
             v.
                                                                12-CR-125W
MARTIN RHYS JONES
a/k/a Martin Reece
a/k/a John Allen,

                                 Defendant.


 I.   INTRODUCTION
      Pending before the Court is a motion (Dkt. No. 337) by defendant Martin

Rhys Jones (“Jones”) for pretrial release on a $250,000 bond secured by up to

$100,000 cash. Alternatively, Jones asks for severance from his codefendants

and an immediate trial. Jones has been in continuous custody since March 4,

2013. After consenting to initial requests by his codefendants for extensions of

time to file pretrial motions, Jones decided this year that he does not want to file

any pretrial motions himself. Jones has declared twice in court that he is ready

for trial. Pretrial release has become necessary, according to Jones, because

the overall case is approaching four years of age with no sign that codefendants

will file motions anytime soon. Especially given a limited criminal history, Jones

wants to avoid what could wind up being as long as five years in pretrial custody

before going to trial, if he remains joined with his codefendants.
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       The Government opposes the motion because it considers Jones a

significant flight risk. Jones faces significant charges here and evaded British

prosecution on similar charges in the past. Jones also demonstrated an

unwillingness to face the charges in this case when he spent about a year

fighting extradition from Spain. The Government also opposes Jones’s

alternative request for severance. According to the Government, Jones was one

of two architects of the fraudulent investment operation alleged in the indictment

and should face trial together with the operatives whom he directed. The United

States Probation Office (“USPO”) recommends continued detention, given

Jones’s lack of status in this country and his history with British authorities.

       The Court held a bail review hearing on July 16, 2015. For the reasons

below, the Court denies Jones’s motion but without prejudice to renew after

March 1, 2016.

 II.   BACKGROUND
   A. Main Allegations in the Indictment
       This case concerns allegations that Jones helped orchestrate an

intercontinental investment scam that brought all of the defendants an aggregate

illicit profit of about $5 million. While the scam operated, Jones, a citizen of the

United Kingdom, resided in Barcelona, Spain. The essence of the scam was that

Jones and others allegedly sold restricted stock over-the-counter as freely traded

shares, without telling investors about the stock restrictions. The following

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excerpt from the indictment, filed on April 17, 2012, summarizes the core

operation of the scam:

             Small, privately held United States corporate entities could
      issue shares of stock, including freely traded shares which were
      considered “over-the-counter” trades, and which were reported on
      the “over-the-counter” bulletin board (“OTCBB”) or “pink sheets.”
      The OTCBB and pink sheets were quotation mediums that contained
      quotations for thousands of over-the-counter stocks not listed on any
      of the major stock markets. Shares which had values considerably
      less than a dollar per share were sometimes referred to as “penny
      stock.”

             Small, privately held corporate entities could also issue
      restricted shares, which could not be freely traded, including so-
      called “Reg S” shares, that is, sales of shares restricted to
      purchasers outside of the United States. The sales of restricted
      shares were not reported on the “over the counter” bulletin board or
      “pink sheets.” Restricted shares had a value far less than that of
      freely traded shares.

            JONES and WROBEL ran a telemarketing operation,
      sometimes referred to as a “boiler room,” from a number of locations
      in Barcelona, Spain. In this operation, callers contacted prospective
      investors by telephone to sell “over the counter” or “pink sheet”
      stocks, using high pressure sales tactics and fraudulent statements
      and representations. The boiler room used a variety of names,
      beginning with Newbridge International, then Brecon Global, then
      Strategic Energy Partners, and then Hammerson Equity Group.

            The boiler room obtained shares of restricted stock issued by
      various companies, including Intersecurity Holdings Corporation
      (“IXSV”); Universal Energy Corporation (“UVEC”); Rhino Outdoor
      International, later known as Xtreme Motorsports International
      (“RHOI” and “XTMS”); and Clean Coal Technologies, Inc. (“CCTI” or
      “CCTC”), which were sold to investors without disclosing the fact that
      the shares were restricted and leading the investors to believe that
      the shares were freely traded shares.

           The boiler room also sold shares of Green Energy Live
      (“GELV”), without ever obtaining those shares.
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(Dkt. No. 1 at 4–5.) The following excerpt from the indictment generally

summarizes the tactics that Jones and others used to carry out the alleged scam:

              The defendants procured nearly worthless restricted shares of
       over-the-counter penny stock, and sold that stock at inflated prices
       to investors through the boiler room located in Spain.

              The defendants utilized a high pressure sales pitch made to
       investors containing false and fraudulent representations and
       omissions, including, among other things, not telling investors that
       the stock being sold was restricted stock; that the investors were
       directed to web sites which showed stock prices for freely traded
       stock, not the less valuable restricted stock actually provided;
       directing investors to look at fictitious and highly optimistic press
       releases which had been created for the boiler room in order to
       make the particular stock appear valuable.

             After investors purchased the stock, defendants directed the
       investors to send their payment, by international wire, to bank
       accounts in Canada, the United States and elsewhere.

              After receiving payments from the investors for the worthless
       stock, which in total amounted to more than $5,000,000, the
       defendants shared the profits from the conspiracy.

(Id. at 7–8.)

       In addition to the general allegations quoted above, the Government

alleged specific actions against Jones throughout all 40 counts of the indictment.

According to the Government, the conspiracy to commit wire fraud among Jones

and others began no later than February 3, 2006. Jones helped register

companies in Spain that ran the boiler room and maintained accounts at Spanish

banks. Jones also helped create fake websites and literature to give potential

investors the illusion of legitimate financial operations in cities around the world.

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According to the Government, Jones hired other codefendants in the case as

callers who initiated contact with potential investors. When other codefendants

identified likely investors, Jones allegedly would act as a “closer” who would

enter the conversation to conclude a deal. Jones was one of the defendants in

the case who played an important role in obtaining the restricted stock that would

be sold as unrestricted. When the scam acquired money from investors, Jones

or another defendant would give instructions to other codefendants for wire

transfers that would complete the transactions and that would enrich the

operation and its participants.

      In all, Jones faces the following charges. In Count One of the indictment,

the Government accuses Jones and others of conspiracy to commit wire fraud in

violation of 18 U.S.C. § 1349. In Counts Two through 30, the Government

accuses Jones and others of specific instances of wire fraud (one transaction per

count), each in violation of 18 U.S.C. §§ 1343 and 2. In Count 31, the

Government accuses Jones and others of conspiring to engage in money

laundering in violation of 18 U.S.C. § 1956(h). In Counts 32 through 34, the

Government accuses Jones and others of three specific instances of money

laundering in violation of 18 U.S.C. §§ 1957(a) and 2. In Counts 35 through 40,

the Government accuses Jones and others of six other specific instances of

money laundering in violation of 18 U.S.C. §§ 1956(a)(2)(A) and 2. The


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indictment also includes three allegations for forfeiture of assets, including $5

million cash, allegedly connected to the scam operation.

   B. Jones’s Detention and the Pending Motion
      The circumstances leading up to Jones’s detention will shape how the

Court addresses the length of that detention. As mentioned before, the

Government filed the indictment on April 17, 2012, but the Court did not arraign

Jones until almost a year later. The Government needed time to find Jones in

Barcelona, where he seems to have lived for approximately seven years before

the arrest. The parties dispute whether Jones moved from the United Kingdom

to Spain for his own reasons or to flee prosecution in the UK for fraud. Once

arrested, Jones retained counsel; counsel in this case asserted at the bail review

hearing that Jones challenged extradition on the advice of his attorney in Spain.

      Jones finally arrived before this Court for arraignment and the detention

hearing on March 4, 2013. At the detention hearing, Jones did not contest the

Government’s motion for detention given his lack of status in the United States.

The Court found Jones a flight risk by a preponderance of the evidence but

ordered him detained without prejudice.

      Jones filed the pending motion on June 30, 2015. Jones seeks release

based on the age of the case and his eagerness for an immediate trial. Jones

highlights that the case is well over three years old already, and yet none of the



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10 active defendants 1 has filed pretrial motions yet. The Government’s discovery

has spanned more than 1.5 million pages of documents, and various

combinations of defense attorneys have asked for multiple extensions of time to

review all the documents. In fact, according to Jones, other defense counsel

have suggested that the current motion deadline of October 29, 2015 (Dkt. No.

316) is unrealistic and that they will seek another extension by early fall. The

pace at which the case has proceeded the last several years aggravates Jones

for two reasons. First, Jones is one of only three defendants out of 10 in

custody; the others have received various conditions of release, and at least one

codefendant, Saad Shuaib, has been allowed to travel internationally to reunite

with family. Second, as early as the beginning of this year, Jones began

objecting to exclusions of speedy-trial time and began requesting an immediate

trial. (See Dkt. Nos. 274, 316.) Jones has argued more than once in court that

he considers himself in a different position relative to the other defendants and

that little of the voluminous discovery pertains to him. Jones accordingly has

decided to forgo the filing of pretrial motions. In arguing for release, Jones

expresses concern that his detention will continue with no end in sight, since the

defendants who have been released have little incentive to move the case any

faster than necessary.



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    As of this writing, defendants David Cole and Kyle Clayton remain fugitives.
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      Although Jones has no ties to the United States, he has proposed a bail

package to bolster his argument for release. Jones’s parents in the United

Kingdom apparently would be willing to house him and to post as much as

$50,000 in bail. Jones has a brother in Australia who apparently is willing to post

an additional $50,000 bail. Jones argues that $100,000 in bail would suffice to

secure an overall bond of $250,000; he argues that he would not endanger family

by skipping future court appearances.

      The Government opposes Jones’s motion for several reasons. As the

indictment indicates, the Government considers Jones one of the principal

architects of the entire scam operation, which allegedly defrauded over 250

victims of more than $5 million. The Government has proffered that it has

numerous documents revealing communications from Jones to others directing

the daily operations of the scam. The Government has proffered further that it

has statements and sworn testimony from several victims detailing how they fell

for the scam. As for flight risk, the Government makes several points. The

Government highlights that Jones did not come to the United States voluntarily to

answer charges; he forced the Government to commence extradition

proceedings. Jones’s situation differs from any other codefendants allowed to

travel internationally, according to the Government, because the codefendants

had much smaller roles in the scam while Jones directed it. Jones also allegedly

has escaped charges at least once before. According to the Government, Jones
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was arrested in London on February 22, 2012 when arriving there from

Barcelona. British authorities charged Jones with a nearly identical scam

operation that targeted United Kingdom citizens. British authorities released

Jones on bail with an apparent restriction on travel outside the UK. Jones

allegedly ignored that travel restriction and returned to Spain to evade British

authorities. Finally, the Government contends that Jones has a history of using

multiple aliases to evade responsibility for his scam operations.

         The USPO recommends continued detention for substantially the same

reasons that the Government has argued. The USPO adds the additional point

that it does not know the whereabouts of Jones’s passport and does not know

where Jones’s residence in the United Kingdom would be, let alone how it would

ever monitor him there.

III.     DISCUSSION
   A. General Standard for Detention or Release
         Since the Court’s prior order of detention came without prejudice, it will not

require Jones to meet the higher standard for reconsideration of a detention

order.

         “The Eighth Amendment to the Constitution states that ‘[e]xcessive bail

shall not be required.’ U.S. Const. amend. VIII. Consistent with this prohibition,

18 U.S.C. § 3142(b) requires a court to order the pre-trial release of a defendant

on a personal recognizance bond ‘unless the [court] determines that such

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release will not reasonably assure the appearance of the person as required or

will endanger the safety of any other person or the community.’” U.S. v.

Sabhnani, 493 F.3d 63, 75 (2d Cir. 2007). Statutory factors to be considered

when assessing flight or danger include the nature and circumstances of the

offense charged, the weight of the evidence against the person, the history and

characteristics of the person, and the nature and seriousness of the danger to

any person or the community that would be posed by the person’s release. See

18 U.S.C. § 3142(g). With respect to flight risk, “the government carries a dual

burden in seeking pre-trial detention. First, it must establish by a preponderance

of the evidence that the defendant, if released, presents an actual risk of flight.

Assuming it satisfies this burden, the government must then demonstrate by a

preponderance of the evidence that no condition or combination of conditions

could be imposed on the defendant that would reasonably assure his presence in

court.” Sabhnani, 493 F.3d at 75 (citations omitted). “It is well established in this

circuit that proffers are permissible both in the bail determination and bail

revocation contexts.” U.S. v. LaFontaine, 210 F.3d 125, 131 (2d Cir. 2000)

(citation omitted). “In economic fraud cases, it is particularly important that the

government proffer more than the fact of a serious economic crime that

generated great sums of ill-gotten gains. Merely having access to significant

funds is not enough; evidence of strong foreign family or business ties is

necessary to detain a defendant even in the face of a high monetary bond.”
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U.S. v. Giordano, 370 F. Supp. 2d 1256, 1264 (S.D. Fla. 2005) (citations

omitted).

   B. Factors in Favor of Detention
      Putting aside momentarily the length of Jones’s detention, which the Court

will address below, several factors weigh in favor of keeping Jones detained.

Jones faces serious charges of orchestrating a multi-continental scam operation

that defrauded over 250 victims of over $5 million. The Government has

proffered extensive documentary and testimonial evidence of how Jones

communicated with his codefendants regularly to execute the tactics pulled

money from victims. Cf. U.S. v. Jackson, 823 F.2d 4, 7 (2d Cir.1987) (“As to the

weight of the evidence, the government apparently has numerous informants as

well as physical evidence to support its charges. Indeed, [defendant] has made

no significant attack on the government’s proffered evidence.”). While Jones

does not appear to have an extensive criminal history per se, he does appear to

have a history of using aliases and ignoring travel restrictions to evade criminal

responsibility. Cf. U.S. v. Chimurenga, 760 F.2d 400, 402 (2d Cir. 1985)

(affirming a finding of risk of flight where the Government, inter alia, proffered the

use of “bank accounts under various aliases”); see also U.S. v. Stewart, 19 F.

App’x 46, 49 (4th Cir. 2001) (unpublished decision) (“Given Stewart’s use of

aliases in the past and his extensive knowledge of ways to evade the

Government, it is not likely that any condition or combination of conditions would
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reasonably assure his appearance.”). Jones also has no ties to the United

States, let alone this District, and the whereabouts of his passport appear to be

unknown. The exact state of Jones’s finances also is unknown. See Jackson,

823 F.2d at 7 (including “hidden assets” as a factor weighing in favor of

detention). With these factors, the Government easily demonstrates by a

preponderance of the evidence that Jones poses a risk of flight.

   C. Assessment of Due Process
      The Court’s inquiry, however, cannot end with the basic assessment of

release factors under 18 U.S.C. § 3142(g), for the reason that defense counsel

identified at the bail review hearing: “If we could see an end in sight—a light at

the end of the tunnel—I wouldn’t be here. But there is no light at the end of the

tunnel.” “The government may detain a defendant prior to trial consistent with

the Due Process Clause of the Fifth Amendment so long as confinement does

not amount to punishment of the detainee. Absent an expressed intention to

punish, whether detention constitutes impermissible punishment or permissible

regulation turns on whether the government has a nonpunitive reason for

detention and whether detention appears excessive in relation to the nonpunitive

purpose. Pretrial detention of a defendant, when of reasonable duration, serves

important regulatory purposes, including the prevention of flight and the

protection of the community from a potentially dangerous individual. However,

when detention becomes excessively prolonged, it may no longer be reasonable
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in relation to the regulatory goals of detention, in which event a violation of due

process occurs.” U.S. v. Millan, 4 F.3d 1038, 1043 (2d Cir.1993) (internal

quotation marks and citations omitted). “To determine whether the length of

pretrial detention has become constitutionally excessive, we must weigh three

factors: (i) the length of detention; (ii) the extent of the prosecution’s responsibility

for the delay of the trial; and (iii) the strength of the evidence upon which the

detention was based, that is, the evidence concerning risk of flight and danger to

the safety of any other person or the community.” Id. at 1043 (internal quotation

marks and citations omitted). “There is no bright-line limit on the length of

detention that applies in all circumstances; but for every set of circumstances,

due process does impose some limit.” U.S. v. Briggs, 697 F.3d 98, 103 (2d Cir.

2012). The Court is particularly sensitive to allegations of excessive detention,

given that the Second Circuit has a history of finding that “a cavalier attitude

toward speedy trial rights was characteristic of the United States Attorney’s

Office in the Western District of New York.” U.S. v. Giambrone, 920 F.2d 176,

182 (2d Cir. 1990).

            i.   Length of Detention
      The first factor affecting a possible due-process violation is the total length

of defendant’s pretrial detention, regardless of any breakdown of responsibility

that occurs later in the analysis. See U.S. v. Gonzales Claudio, 806 F.2d 334,

340 (2d Cir.1986) (beginning due-process analysis by “[f]ocusing first on the
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duration of confinement” and acknowledging “the total time the defendants have

been in pretrial detention”). Courts that measure total pretrial detention count

actual detention plus likely prospective future detention; they ignore possible

future detention that is only speculative. See id. (assessing future scheduling

that is “without speculation”); see also Millan, 4 F.3d at 1044 (“In weighing

potential future detention, however, we take into account non-speculative

aspects of future confinement.”) (internal quotation marks and citations omitted).

“While the length of pretrial detention is a factor in determining whether due

process has been violated, the length of detention alone is not dispositive and

will rarely by itself offend due process.” U.S. v. El–Hage, 213 F.3d 74, 79 (2d

Cir.2000) (internal quotation marks and citations omitted).

      Here, the length of Jones’s detention weighs in his favor. As of this writing,

Jones has been in continuous custody in the United States for about 29 months;

adding the year or so that Jones spent in custody in Spain during extradition

proceedings, the total rises to about 41 months. The Government is correct that

Jones consented to some exclusions of speedy-trial time prior to 2015. “That

said, however, prior instances when the Second Circuit authorized detention

extending beyond 30 months involved very high levels of dangerous criminal

activity.” U.S. v. Rodriguez, No. 09-CR-331A, 2012 WL 6690197, at *11

(W.D.N.Y. Dec. 21, 2012) (Scott, M.J.). Without downplaying the seriousness of

the allegations against Jones, the Government has not accused him of anything
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approaching bank robbery, racketeering, a continuing criminal enterprise, drug

crimes, or international terrorism. See id. (reviewing prior Second Circuit cases).

Worse yet, the parties have not disputed that this case is nowhere near ready for

trial. Over three years after the filing of the indictment and the first proceedings

in the case, no defendant has even come close to filing pretrial motions. The

parties have not disputed that the most recent amended schedule, requiring

motions by October 29, 2015 and setting oral argument for December 21, 2015

(Dkt. No. 316), will prompt at least some defendants to seek further extensions

soon. When pretrial motions eventually come, those motions almost certainly will

contain requests to suppress any number of materials from the 1.5 million pages

of documents that the Government has furnished in discovery. If simply

preparing pretrial motions will wind up taking at least four years then an

additional two or three years to argue the motions, to hold hearings, and to issue

a Report and Recommendation is reasonable to predict, barring drastic

measures by this Court to accelerate the timetable over the objections of all

counsel. If that predicted timetable holds then Jones would remain in U.S.

custody for almost five years before the parties were ready for trial.

           ii.   Responsibility for Delay
      Next, the Court will consider the extent to which the Government is

responsible for the years that defendant has spent in pretrial detention. When

looking for “responsibility,” courts will consider any conduct intended to cause
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delay. Courts also will charge to defendants time lost to motion practice that

could have proceeded in a more efficient or practical way. Cf. Gonzales Claudio,

806 F.2d at 341 (“[T]here is some basis for believing that defense counsel could

have proceeded more expeditiously by taking a less fragmented approach to

pretrial maneuvering.”). In between, though, lies a range of case-management

decisions by the Government that warrant at least some of the respect afforded

to prosecutorial discretion. See U.S. v. Orena, 986 F.2d 628, 631 (2d Cir. 1993)

(“[W]e decline to adopt a rule that would deter the government from seeking joint

trials (or consenting to severance) as a means of economizing judicial and other

resources.”). Courts generally avoid micromanaging cases, but respect for

prosecutorial discretion does not mean that the Government always should

receive complete absolution for decisions whose impact on pretrial detention is

foreseeable.

      Here, Jones has not pointed to any improper delay that the Government

caused. The only delay that the Government has created is the delay associated

with producing 1.5 million pages of discovery. Cf. U.S. v. Liounis, No. 12 CR 350

ILG, 2013 WL 5596014, at *2 (E.D.N.Y. Oct. 11, 2013) (denying a claim of a

constitutional speedy-trial violation where “[t]he delay, in no small measure, is

attributable also to the voluminous discovery required by the complex mail, wire

and security frauds with which [defendant] is charged”). The Government

produced discovery in batches and was forthright at all times about doing so.
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When the Government had produced about 225,000 pages, Jones asked for

more time to review them. (See Dkt. No. 84.) Jones took the lead in seeking

“mega case” status, an implicit acknowledgment that preparing the case would

take time. (See Dkt. No. 88.) When the Court granted another extension for a

codefendant, it reminded all defendants explicitly that they fell under the same

speedy-trial clock absent a severance challenge. (Dkt. No. 123.) Jones did not

file for severance then. When the Government reported on January 13, 2014

that it had just turned over more discovery, Jones did not protest the piecemeal

discovery and did not object to another extension of the pretrial schedule. (See

Dkt. No. 171.) After yet another extension for a codefendant, Jones did not

object or file for severance. (See Dkt. No. 187.) Jones instead joined the

request. (See Dkt. No. 185.) Jones also joined a request for an extension that a

codefendant filed on October 21, 2014. (Dkt. No. 249.) At a status conference

on October 31, 2014, the Court discussed with counsel whether the Government

owed further discovery. (Dkt. No. 257.) Jones again did not object to the pace of

discovery and did not request severance. Meanwhile, Jones had been exploring

the possibility of a plea with the Government; those talks continued until around

November 19, 2014. (Dkt. No. 260.) Not until January 8, 2015 did Jones change

course and refuse to consent to further extensions of scheduling. (See Dkt. No.

274.) Even then, Jones expressed a desire for an immediate trial but did not file


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for severance. The first request for severance did not come until this pending

motion.

      What the above docket information suggests is that Jones spent almost

the first two years of his time in the case consenting to extensions while exploring

a possible plea, and then pivoting to a request for an immediate trial when the

plead did not happen. Jones has done nothing wrong by starting the case with

one strategy and then switching to another. His choice of strategy, though,

means that any time that would need to run to force release or severance on

speedy-trial grounds began to run only recently. Hopefully the case proceeds

over the next few months in a way that does not cross the threshold for a

speedy-trial violation. In any event, the Government at all times announced its

intentions for production of discovery and bears no responsibility for the repeated

schedule extensions that Jones sought or joined. Absent an argument that

piecemeal discovery is inherently dilatory and prejudicial, the second due-

process factor weighs in favor of the Government.

          iii.   Strength of the Proof
      As noted above and without infringing on the presumption of innocence,

the final factor in the due-process analysis requires the Court to consider the

strength of the Government’s evidence that Jones poses a risk of flight. The

details of the Court’s analysis appear earlier in this Decision and Order. In short,

Jones continues to face serious accusations that he helped orchestrate a
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significant scam operation across two continents. The Government has proffered

detailed evidence of the tactics that Jones and his codefendants employed in

furtherance of the scam. Jones also has a history of prior offenses and use of

aliases, and appears to have a history of evasion of foreign prosecution. This

information pushes the third due-process factor into the Government’s column.

      In the end, then, a review of the due-process factors shows one factor

mildly in Jones’s favor and two factors moderately to silently in the Government’s

favor. In describing the factors that way, the Court does not mean to suggest

that due-process analysis can be reduced to a mathematical formula. The Court

nonetheless concludes that Jones has not yet shown enough of a due-process

violation to override the substantive factors that weigh in favor of detention.

      The Court cautions the Government, however, that the argument for

continued detention of Jones is on a slow collision course with Jones’s due-

process rights. Between fugitives not yet apprehended, those fugitives likely

wanting their own timeframe of a few years to review a large amount of

discovery, and most if not all defendants likely asking for pretrial hearings

eventually, Jones could wind up spending several more years in pretrial

detention without Court intervention. If that happens then the first due-process

factor likely will overwhelm the other two as happened in Rodriguez. The Court

will deny Jones’s motion today, but without prejudice to revisit, after March 1,


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2016, how the various due-process factors discussed above have continued to

develop.

      As for Jones’s alternative request for severance, this Court has a practice

of deferring to the District Judge to avoid interfering with trial administration. If

Jones wants to appeal this Decision and Order to Judge Wolford for a ruling on

severance then he is free to do so.




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IV.   CONCLUSION

      For all of the foregoing reasons, the Court denies Jones’s motion (Dkt. No.

337), but without prejudice to revisit his detention status after March 1, 2016.

      Jones will remain committed to the custody of the Attorney General for

confinement in a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody pending appeal.

      Despite the Court’s continued order of detention, and pursuant to 18

U.S.C. § 3142(i)(3), the Attorney General must afford Jones reasonable

opportunity for private consultation with counsel. See also U.S. v. Rodriguez

(“Rodriguez I”), No. 12-CR-83S, 2014 WL 4094561 (W.D.N.Y. Aug. 18, 2014)

(Scott, M.J.). Additionally, on order of the Court or on request of an attorney for

the Government, the person in charge of the corrections facility in which Jones

is confined must deliver Jones to a United States Marshal for the purpose of an

appearance in connection with a court proceeding in this case. See also U.S. v.

Rodriguez (“Rodriguez II”), No. 12-CR-83S, 2015 WL 1120157, at *7 (W.D.N.Y.

Mar. 12, 2015) (Scott, M.J.) (interpreting 18 U.S.C. § 3142(i)(4) to allow

transports to prepare for an oral argument or hearing).




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      In accordance with 18 U.S.C. § 3142(j), nothing in this Decision and Order

will be construed as modifying or limiting the presumption of innocence.

      SO ORDERED.
                                     __/s Hugh B. Scott______    __
                                     HONORABLE HUGH B. SCOTT
                                     UNITED STATES MAGISTRATE JUDGE
DATED: August 4, 2015




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